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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS

    FRED DEMBSKI, individually, and on behalf           Case No.
    of all others similarly situated,
                                                      CLASS ACTION COMPLAINT
                    Plaintiff,
                                                      DEMAND FOR JURY TRIAL
    v.

    THE DALLAS MORNING NEWS, INC.,
    a Texas company,

                    Defendant.


                                  CLASS ACTION COMPLAINT

           Plaintiff Fred Dembski (“Dembski” or “Plaintiff”) brings this Class Action Complaint

and Demand for Jury Trial against Defendant The Dallas Morning News, Inc. (“Dallas Morning

News” or “Defendant”) to stop Dallas Morning News from violating the Telephone Consumer

Protection Act by making unsolicited calls to consumers who registered their phone numbers on

the National Do Not Call Registry, and to other obtain injunctive and monetary relief for all

persons injured by Dallas Morning News’s conduct. Plaintiff, for his Complaint, alleges as

follows upon personal knowledge as to himself and his own acts and experiences, and, as to all

other matters, upon information and belief, including investigation conducted by his attorneys.

                                         INTRODUCTION

           1.     Dallas Morning News was founded in 1885 as a spin-off of the Galveston Daily

News. By late 1991, it was the largest newspaper in the Dallas market, and maintains one of the

20 largest paid circulations in the United States.1

           2.     Notwithstanding, Dallas Morning News has seen a considerable drop in their

newspaper subscription base as consumers are turning away from print media in favor of digital


1
    https://en.wikipedia.org/wiki/The_Dallas_Morning_News
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news media. Between 2013 and 2017, the newspaper’s daily circulation has dropped from

271,189 to 214,423. Between 2013 and 2017, Sunday circulation dropped from 379,379 to

288,059, as can be seen in the chart below:




                                                                                                2



       3.      Newspaper subscriptions are a vital part of Dallas Morning News’ revenue

stream. As a result, the company has put great emphasis on customer retention efforts while

working to solicit additional subscribers through telemarketing.

       4.      Unfortunately, Dallas Morning News’s telemarketing efforts regularly result in

repeated calls to consumers whose phone numbers are registered on the National Do Not Call

Registry (“DNC”). In Plaintiff’s case, Dallas Morning News’s telemarketing scheme resulted in

no fewer than 7 unsolicited calls to Plaintiff’s landline phone, without his consent, despite

Plaintiff having his phone number registered with the DNC to prevent such calls.




2
 https://www.statista.com/statistics/193835/average-paid-circulation-of-the-dallas-morning-
news/
                                                                                                    2
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       5.      In response to these calls, Plaintiff files this lawsuit seeking injunctive relief,

requiring Defendant to cease placing unsolicited calls to consumers’ telephone numbers when

those telephone numbers are registered on the DNC, as well as an award of statutory damages to

the members of the Class and costs.

                                              PARTIES

       6.      Plaintiff Dembski is a Grapevine, Texas resident.

       7.      Defendant Dallas Morning News is a Texas corporation headquartered in Dallas,

Texas. Defendant conducts business throughout this District and the State of Texas.

                                  JURISDICTION AND VENUE

       8.      This Court has federal question subject matter jurisdiction over this action under

28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C.

§227 (“TCPA”).

       9.      This Court has personal jurisdiction over Defendant and venue is proper in this

District under 28 U.S.C. § 1391(b) because Defendant is incorporated and headquartered in the

state of Texas, and because the wrongful conduct giving rise to this case occurred in this District.

Venue is additionally proper because both Defendant and Plaintiff reside in this District and the

calls were directed towards Plaintiff in this District.

                                   COMMON ALLEGATIONS

Dallas Morning News Markets its Services by Making Unsolicited Calls to Consumers
Without Their Consent and Regardless of Whether Their Phone Numbers Are Registered
on the National Do Not Call Registry

       10.     Dallas Morning News places unsolicited calls to consumers, without consent,

regardless of whether they are calling numbers that are registered on the DNC.




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        11.       Not surprisingly, there are numerous online complaints about Defendant’s calls to

consumers who never consented to be called:

    •   “It’s the Dallas Morning News trying to get me to take the paper.”3
    •   “Call constantly but never leave a message.”4
    •   “Unsolicited call”5
    •   “It’s the DMN looking to sign up up.”6
    •   “salesperson for DMN”7
    •   “It’s someone calling for subscriptions to the Dallas Morning News.”8
    •   “Calls daily – annoying.”9
    •   “Dallas Morning News wanting me to give them a credit card number. That’ll never
        happen with the Dallas Morning News.”10
    •   “Dallas Morning News cold call”11

        12.       The phone calls made by, or on behalf of Dallas Morning News have caused

frustration and actual harm to consumers throughout Dallas and the State of Texas.


                                  PLAINTIFF’S ALLEGATIONS

Dallas Morning News Repeatedly Called Plaintiff Without His Consent, Despite Plaintiff
Registering His Phone Number on the DNC

        13.       On May 18, 2018, Plaintiff registered his landline telephone number on the

National Do Not Call Registry.

        14.       More than 30 days after Plaintiff registering his phone number on the DNC,

Plaintiff received unsolicited calls to his landline telephone number from Defendant using phone

number 214-630-5097:

              •   July 9, 2018 at 11:54 AM



3
  https://800notes.com/Phone.aspx/1-972-734-5214
4
  https://800notes.com/Phone.aspx/1-214-630-5097
5
  https://www.shouldianswer.com/phone-number/2145714417
6
  https://www.shouldianswer.com/phone-number/2142998496
7
  id
8
  https://800notes.com/Phone.aspx/1-972-752-3463
9
  id
10
   https://800notes.com/Phone.aspx/1-972-848-1740
11
   https://www.shouldianswer.com/phone-number/2148174729
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               •   July 10, 2018 at 3:22 PM

               •   July 11, 2018 at 3:11 PM

               •   July 12, 2018 at 10:44 AM and again at 5:33 PM

               •   July 13, 2018 at 4:22 PM

               •   July 18, 2018 at 4:22 PM

         15.       The purpose of these calls was to promote subscription of The Dallas Morning

News newspaper. During the July 18, 2018 call, Plaintiff informed the agent that his phone

number was registered with the DNC and then terminated the call.

         16.       Plaintiff has not subscribed to the Dallas Morning News in approximately 20

years. The calls he received to his landline were made without consent and in violation of the

DNC.

         17.       Simply put, Dallas Morning News did not obtain Plaintiff’s prior express written

consent to place solicitous telephone call to him on his landline.

         18.       The unauthorized telephone calls made by Dallas Morning News, as alleged

herein, have harmed Plaintiff in the form of annoyance, nuisance, and invasion of privacy, and

disturbed Dembski’s use and enjoyment of his landline phone, in addition to the wear and tear on

the phones’ hardware (including the phones’ battery) and the consumption of memory on the

phone.

         19.       On information and belief, Defendant, or a third-party acting on its behalf, made

substantively identical, repeated unsolicited calls en masse to the telephone numbers of hundreds

or thousands of consumers who had registered their phone numbers on the DNC. To the extent

the calls were made on Defendant’s behalf to consumers, Dallas Morning News provided the

third-party access to its records, authorized use of its trade name, otherwise controlled the



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content of the calls, and knew of, but failed to stop, the making of the calls in violation of the

TCPA.

        20.    Seeking redress for these injuries, Dembski, on behalf of himself and Class of

similarly situated individuals, brings suit under the Telephone Consumer Protection Act, 47

U.S.C. § 227, et seq., which prohibits unsolicited calls to telephone numbers registered on the

DNC.

                                     CLASS ALLEGATIONS

Class Treatment Is Appropriate for Plaintiff’s TCPA Claims Arising From Calls Made by
Dallas Morning News Agents

        21.    Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2)

and Rule 23(b)(3) on behalf of himself and all others similarly situated and seeks certification of

the following Class:


        Do Not Call Registry Class: All persons in the United States who from four years
        prior to the filing of this action (1) Defendant (or an agent acting on behalf of
        Defendant) called more than one time on his/her cellular telephone; (2) within any
        12-month period (3) where the cellular telephone number had been listed on the
        National Do Not Call Registry for at least thirty days; (4) for the purpose of selling
        Defendant’s products and services; and (5) for whom Defendant claims (a) it
        obtained prior express written consent in the same manner as Defendant claims it
        supposedly obtained prior express written consent to call the Plaintiff, or (b)
        Defendant did not obtain prior express written consent.

        22.    The following individuals are excluded from the Class: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, its

subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents

have a controlling interest and their current or former employees, officers and directors; (3)

Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Class; (5) the legal representatives, successors or assigns of any such excluded persons;

and (6) persons whose claims against Defendant have been fully and finally adjudicated and/or

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released. Plaintiff anticipates the need to amend the Class definition following appropriate

discovery.

       23.     Numerosity: On information and belief, there are hundreds, if not thousands of

members of the Class such that joinder of all members is impracticable.

       24.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the Class, and those questions predominate over any

questions that may affect individual members of the Class. Common questions for the Class

include, but are not necessarily limited to the following:

               (a) whether Defendant systematically made multiple telephone calls to Plaintiff
                   and consumers whose telephone numbers were registered with the National
                   Do Not Call Registry;

               (b) whether Defendant’s conduct constitutes a violation of the TCPA; and

               (c) whether members of the Class are entitled to treble damages based on the
                   willfulness of Defendant’s conduct.

       25.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Class, and has retained counsel competent and experienced in class

actions. Plaintiff has no interests antagonistic to those of the Class, and Defendant has no

defenses unique to Plaintiff. Plaintiff and his counsel are committed to vigorously prosecuting

this action on behalf of the members of the Class, and have the financial resources to do so.

Neither Plaintiff nor his counsel has any interest adverse to the Class.

       26.     Appropriateness: This class action is also appropriate for certification because

Defendant has acted or refused to act on grounds generally applicable to the Class and as a

whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the members of the Class and making final class-wide injunctive relief

appropriate. Defendant’s business practices apply to and affect the members of the Class

uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with
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respect to the Class as wholes, not on facts or law applicable only to Plaintiffs. Additionally, the

damages suffered by individual members of the Class will likely be small relative to the burden

and expense of individual prosecution of the complex litigation necessitated by Defendant’s

actions. Thus, it would be virtually impossible for the members of the Class to obtain effective

relief from Defendant’s misconduct on an individual basis. A class action provides the benefits

of single adjudication, economies of scale, and comprehensive supervision by a single court.

Economies of time, effort, and expense will be fostered and uniformity of decisions will be

ensured.

                                 FIRST CAUSE OF ACTION
                             Telephone Consumer Protection Act
                                 (Violation of 47 U.S.C. § 227)
              (On Behalf of Plaintiff Dembski and the Do Not Call Registry Class)

       27.      Plaintiff repeats and realleges the paragraphs 1 through 26 of this Complaint and

incorporates them by reference herein.

       28.      The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

who has registered his or her telephone number on the national do-not-call registry of persons

who do not wish to receive telephone solicitations that is maintained by the federal government.”

       29.      47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable to any

person or entity making telephone solicitations or telemarketing calls to wireless telephone

numbers.”12

       30.      47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate

any call for telemarketing purposes to a residential telephone subscriber unless such person or



12
   Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003) Available at
https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-153A1.pdf
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entity has instituted procedures for maintaining a list of persons who request not to receive

telemarketing calls made by or on behalf of that person or entity.”

       31.     Any “person who has received more than one telephone call within any 12-month

period by or on behalf of the same entity in violation of the regulations prescribed under this

subsection may” may bring a private action based on a violation of said regulations, which were

promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

solicitations to which they object. 47 U.S.C. § 227(c).

       32.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call Registry

Class members who registered their respective telephone numbers on the National Do Not Call

Registry, a listing of persons who do not wish to receive telephone solicitations that is

maintained by the federal government.

       33.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call

Registry Class received more than one telephone call in a 12-month period made by or on behalf

of Defendant in violation of 47 C.F.R. § 64.1200, as described above. As a result of Defendant’s

conduct as alleged herein, Plaintiff and the Do Not Call Registry Class suffered actual damages

and, under section 47 U.S.C. § 227(c), are entitled, inter alia, to receive up to $500 in damages

for such violations of 47 C.F.R. § 64.1200.

       34.     To the extent Defendant’s misconduct is determined to be willful and knowing,

the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

recoverable by the members of the Do Not Call Registry Class.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the

following relief:

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   a) An order certifying the Class as defined above; appointing Plaintiff as the representative

      of the Class; and appointing his attorneys as Class Counsel;

   b) An award of actual and/or statutory damages;

   c) An order declaring that Defendant’s actions, as set out above, violate the TCPA;

   d) An injunction requiring Defendant to cease all unsolicited calling activity, and to

      otherwise protect the interests of the Class; and

   e) Such further and other relief as the Court deems just and proper.

                                         JURY DEMAND

      Plaintiff requests a jury trial.

                                             Respectfully Submitted,

                                             JOHN DEMBSKI, individually and on behalf of
                                             those similarly situated individuals



Dated: August 6, 2018                        By: /s/ Dana Opitz
                                             Dana Opitz
                                             3108 San Sebastian
                                             Carrollton, Texas 75006
                                             (682) 309-4862
                                             danamarie15@gmail.com

                                             Stefan Coleman
                                             law@stefancoleman.com
                                             LAW OFFICES OF STEFAN COLEMAN, P.A.
                                             1072 Madison Ave. #1
                                             Lakewood, NJ 08701
                                             Telephone: (877) 333-9427
                                             Facsimile: (888) 498-8946
                                             (Admitted to the Northern District of Texas)

                                             Avi R. Kaufman*
                                             kaufman@kaufmanpa.com
                                             KAUFMAN P.A.
                                             400 NW 26th Street
                                             Miami, FL 33127
                                             Telephone: (305) 469-5881

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                                Attorneys for Plaintiff and the putative Class

                                *Pro Hac Vice motion forthcoming




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